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SO ORDERED.

SIGNED October 24, 2017.



                                                       ________________________________________
                                                       ROBERT SUMMERHAYS
                                                       UNITED STATES BANKRUPTCY JUDGE

          ____________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

IN RE:                                             §        CASE NO. 17-51014
                                                   §
KNIGHT ENERGY HOLDINGS, LLC,                       §        CHAPTER 11
et al.,1                                           §
                                                   §
                 DEBTORS.                          §
                                                   §

          AGREED ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

          Upon consideration the Motion for an Order Granting Relief From the Automatic Stay

(Doc. 357) (the “Motion”), filed herein by Rippy Oil Company, Rippy Interests LLC, The Genecov




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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667)
(Case No. 17-51015); Knight Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well
Services, LLA (4156) (Case No. 17-51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety & Training
Management, LLC (0510) (Case No. 17-51019); Knight Security, LLC (0923) (Case No. 17-51020); Knight
Information Systems, LLC (0000) (Case No. 17-51021); El Caballero Ranch, Inc. (7345) (Case No. 17-51022); Rayne
Properties, LLC (0000) (Case No. 17-51023); Knight Aviation, LLC (3329) (Case No. 17-51024); Knight Research
& Development, LLC (3760) (Case No. 17-51025); Knight Family Enterprises, LLC (7190) (Case No. 17-51026);
HMC Leasing, LLC (0814) (Case No. 17-51027); and HMC Investments, LLC (0000) (Case No. 17-51029. The
Debtors’ service address is 2272 SE Evangeline Thruway, Lafayette, Louisiana 70508, except for Knight
Manufacturing, LLC, which can be served at 2710-A Melancon Road, Broussard, Louisiana 70518, and Advanced
Safety and Training Management, LLC, which can be served at 1042 Forum Drive, Broussard, Louisiana 70518.
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Group, Inc., and John D. Proctor (together, “Rippy Oil”), the agreement of the Debtors to the relief

requested therein, and the Court finding that: (i) it has jurisdiction over the matters raised in the

Motion pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2); (iii) proper and adequate notice of the Motion has been given and no other or further

notice is necessary; and (iv) upon the record herein after due deliberation thereon, good and

sufficient cause exists for the granting of the relief as set forth herein; therefore:

          IT IS ORDERED that the Motion is GRANTED.

          IT IS FURTHER ORDERED that the automatic stay be and is hereby modified as to Knight

Oil Tools, LLC (the “Subject Debtor”) for the limited purpose of allowing the prosecution of the

case captioned as Rippy Oil Company, et al. v. Knight Oil Tools, Inc., et al., No. 0-10-498, pending

in the 369th Judicial District Court in Leon County, Texas (the “Proceeding”).

          IT IS FURTHER ORDERED that Rippy Oil shall seek recovery on the claims asserted in

the Proceeding solely from applicable insurance policies of the Subject Debtor and the other non–

Debtor defendants; it is further

          IT IS FURTHER ORDERED that the Subject Debtor’s liability in the Proceeding, and for

any claims or causes of action that were or could have been raised in the Proceeding, shall be

limited to the extent of any coverage provided by the Subject Debtor’s applicable insurance

policies.

          IT IS FURTHER ORDERED that except as expressly provided herein, no collection action

shall be commenced against the Subject Debtor without prior order of this Court.

          IT IS FURTHER ORDERED that Rippy Oil may seek and conduct such discovery

involving the Subject Debtor as allowed by the applicable rules of civil procedure, local rules and

scheduling orders in the Proceeding.


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          IT IS FURTHER ORDERED that nothing herein (i) alters or amends the terms and

conditions of any insurance policies issued to the Debtor by ACE American Insurance Company

or any of its affiliates or successors (collectively, “Chubb”) or any related agreements; (ii) relieves

the Debtors of any obligations to Chubb to pay any retentions or to pay (or reimburse Chubb for)

any deductibles; (iii) relieves the Debtors of any of their other obligations to Chubb under the

insurance policies and related agreements; (iv) creates or permits a direct right of action by Rippy

Oil against Chubb that would not otherwise exist under applicable law; or (v) precludes or limits,

in any way, any rights of Chubb to contest and/or litigate the existence, primacy and/or scope of

available coverage.

                                                 ###


This Agreed Order was prepared and is being submitted by:

 /s/ Benjamin W. Kadden
Benjamin W. Kadden (La. Bar. No. 29927)
LUGENBUHL, WHEATON, PECK,
        RANKIN & HUBBARD
601 Poydras St., Suite 2775
New Orleans, Louisiana 70130
Telephone: (504) 568-1990
Facsimile: (504) 310-9195

Attorneys for Rippy Oil Company, Rippy Interests LLC,
The Genecov Group, Inc., and John D. Proctor

 /s/ Tristan Manthey
Heller, Draper, Patrick, Horn & Dabney, L.L.C.
William H. Patrick, III (La. Bar No. 10359)
Tristan Manthey (La. Bar No. 24539)
Cherie Dessauer Nobles (La. Bar No. 30476)
650 Poydras St., Suite 2500
New Orleans, Louisiana 70130-6175
Telephone: (504) 299-3300
Facsimile: (504) 299-3399

Attorneys for the Debtors

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